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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                     CRIMINAL NO.: 13-20259-ALTONAGA
       Plaintiff,
  vs.

  RODOLPHE JAAR,
        Defendant.
  ___________________________/

     DEFENDANT’S OBJECTIONS TO PRE-SENTENCE INVESTIGATION REPORT.

         The defendant, RODOLPHE JAAR, by and through his undersigned Counsel hereby

  files this Objection to the Presentence Investigation Report filed in the instant case and in

  support thereof states as follows:

         1. The final version of the Pre-sentence investigation report was filed on

  January 24th, 2014. The undersigned Counsel travelled to Haiti on January 25th,

  2014, on an early morning flight and did not see the final version of the PSI until his

  return yesterday.



         2. The defendant submitted his acceptance of responsibility statement to the


  Probation Officer on November 27th, 2013, and again on January 17th, 2014. The

  revised version incorporates the acceptance of responsibility statement and properly

  credits the defendant with the 3 point reduction for acceptance of responsibility as

  well as the 2-point reduction for the safety valve, for which the defendant is grateful

  and naturally has no objections on those issues.


         3. The terms of the agreed plea negotiation contained an additional 2-point
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  reduction for minor role, and a 3-point reduction for mitigating role, thereby resulting

  in an adjusted offense level of 24.


         4. On January, 3rd 2014, the Prosecutor and the undersigned Counsel met


  with the Probation Officer in her office and provided her a copy of the agreed terms of

  the plea negotiations. (See copy of the e-mail attached as an Appendix). Those terms

  were agreed by the parties for reasons that were explained to the Probation Officer and

  can be further expounded to the court at the sentencing hearing.


         5. The defendant requests that the court give him the additional 5-point


  reduction pursuant to the terms of the agreement with the government as explained

  herein.


         WHEREFORE, the defendant requests that the court grant him the additional 5-point

  reduction to an adjusted offense level of 24 for a sentencing range of 51 to 63 months prior to the

  filing of any 5K1.1 motion by the government or any further downward adjustments or variance

  that the court considers appropriate.


         Respectfully Submitted,
                                                               _/s/Richard O. Dansoh,
                                                               Richard O. Dansoh, Esq.
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                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY, on this 29th day of April, 2013, I caused the foregoing Notice

  of Appearance to be electronically filed with the Clerk of the Court using the CM/ECF system,

  which will send notification of such filing to all attorneys of record.

                                                                _/s/Richard O. Dansoh,
                                                                Richard O. Dansoh, Esq.
